
ORDER
Based upon the Court’s concurrence with the opinion of the Committee on Professional Responsibility that the crime of which the attorney was convicted adversely reflects on the attorney’s moral fitness to practice law:
IT IS ORDERED BY THE COURT, that Bertrand S. DeBlanc, Jr. be and he is hereby suspended from the practice of law and said attorney’s license to practice is hereby suspended.
It is further ordered that the Committee institute the necessary disciplinary proceedings against Bertrand S. DeBlanc, Jr. seeking his disbarment or other remedy deemed appropriate, all in keeping with Article XV of the Articles of Incorporation of the Louisiana State Bar Association.
